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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,                     )
                                              )
               Plaintiff,                     )      ORDER
                                              )
       vs.                                    )
                                              )
Sanjay Ashani Williams,                       )      Case No. 4:13-mj-119/4:12-cr-175-16
                                              )
               Defendant.                     )


       The affidavit in support of the government’s complaint was filed on June 28, 2013, in Case

Nos. 4:13-mj-119 and 4:12-cr-175-16 at Docket No. 1-1. The Clerk’s office shall designate the

affidavit as “court only” in both cases. The Clerk’s office is further directed to file the redacted

affidavit as an attachment to the complaint in both cases.

       IT IS SO ORDERED.

       Dated this 19th day of July, 2013.

                                                     /s/ Charles S. Miller, Jr.
                                                     Charles S. Miller, Jr., Magistrate Judge
                                                     United States District Court
